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              EXHIBIT S
           Mesiti Declaration
    Infringing Product Type 3 Chart
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THE CLOSEST COMPARATIVE DESIGNS, THE DESIGN CLAIMED IN THE `526 PATENT,
                 AND DEFENDANTS’ INFRINGING PRODUCT TYPE 3
                                                         Infringing Design
         ‘924 Design      ‘446 Design    Patented Design
                                                               Type 3
Front
Back
First Side
Second Side
Top
Bottom
